       .;~ : ~i~ :.~· Case 1:18-cv-00021-JMS-WRP
                                             ... Document 1-3 Filed 01/12/18
                                                                    Do Not Write in thisPage
                                                                                         Space
                                                                                               1 of 1                                                                                                                                 PageID #: 22
             ~\ ·.:                   _. t .                                                                                                                                       OFFICIAL U~I; ONLY
              39602 5                                                      STATE OF HA WAii - DEPARTMENT OF PUBLIC SAFETY                                                         Date Received:LJ J          1
                                                                                  ADMINISTRATIVE REMEDY FORM                                                                      Date Logged:   trra-
                                                                                                                                                                                  Date Retume&f i* r
              (This Control No. Must
              Accompany All Appeals)                                                                                                                        --~                   Response Dfe:' -
                                                                                                                                                                                                 S~ /a----.,-
                                                                                                                                                                                                            \
                                                                                                                                                          \J)•.!.';{i~,I'./' -                            I     I     I
                                                                                                                                                                                 '-------+_./
                                                                                                                                                                                          ----~

              NAME:                        ~J1~ 1-·I \:) A9 ~ !CP>Avl>                                                               SID:          -A02- ViS4-'& ~

              HOUSING:                               ~~                  \· A4       --=*   12.                                      CONTROL NO: Step                       l .3 "H1 o\.:S
                                                      Facility       Module/lJ nit/Block/Cell                                                                      s: ep2 _ _ _ __

              TO: (Step)"                       1. ( \        Section supervisor/Inmate Grievance Specialist
                                                2 .~ Appeal Branch/Core Program Administrator/Inmate Grievance Specialist
                                                3.            Appeal Institutions/Core Program Division Administrator/Inmate Grievance Specialist
                                                                                                                    ;>.!$"

              I attempted to solve this problem through informal discussion with: _ _ _ _ _ _ _ _ _ _ _on _ _ _ _ _ __
              Resolution could not be obtained because:

              Subject cannot be resolved informally because:
              Attachments incluged: (Lower Step l; Step 2; Ivlisconduct & Hearing (DOC-8210A); Ivlisconduct Report (DOC-8210) _ _ __

              STATEMENT OF COMPLAiNT/GRIEVANCE:




     1,...., . .. ..     ,. . 0~--=-~- ~";'~'-1>\ci.               ·c ti·1 h·'r . f'{.~4.:> ~ (         w~::;:.'=1 1 ' S\Of1·, Oit\.-.~~J

     ~ fM \




                                                                  -;'~ SSA~-n....:i ·1 ~          ..,                                       ...r
                                                                  Pr<:of.\~t.cS .S    o-.,n-      Tor-

                                                                                               ~s~C'1                   1.-vY'A-l"&;J              JVl.e        \'\c~            <'..o¥~T\V ~                 1-4     ~1'1\.
                                                                                               t>-.~ ll'\ill a.                \)1   o\..11PNLE.      vfl """ 011\CYl"              1 ~ ~~ •


                                                                                                                     --~--~---
                                                                                                                               4/(.,,     I q                        .-....
                                                                                                                                                                       ... 4      (<. \l\C\\~..:S -                 fl..."'14. «':
              IN                      TE SIGNATURE                                                                                    DATE                                                                                ~   .....
                                                                                                                                                                                   ~~
              RESOLUTION: (Do Not Write In This Space. OFFICIAL USE ONLY)

              Thu s t a l." , yo ur c l nus ag a insl ot. he r s h a•Je y1! t co be ve -..:..fie.ct. Yo ur .D eLl. L>e t i s t u
              \:<• ' -e Cat'f~ Of your Ov7U bus in e ss and l e ave t he CU6tOdy , care and ' mt:;m l.to n .. n.g of iumatt:!S
              t o . tl.i ~ t.:orr.ectional. taf- ~- -By p-olicy , -- t::) ,'d ,· \H:>St: r {}1-osed " cust ody inmute s oe.c.aust
              i .t o otht!l'.'::J j' uU ,. i G ... Viu l ation n f the i r c .LVJ.1 :i:. .. · htD •
                                                                                                             .,,,
              Yo u r (, .d .e v an c e is d cn.te u,

     --· ii ;~u '~;:r                                                 .1i~1; ~hi~ -~-~s~onse, ·co~Jt;~in --o~ ~1:i1-~                                                             ~t~,T~u
                                                                                                                                                                                                     I                          .
                                                                                                                                                                                                ..       '1 " --~' · --- - - -
                                                 <l issab::ffled                                                                                      date        of m e                        ·111 .
              have f :i 'l~ ( 5 ) C" lt! nd.<.tr da y s .i..u wh ic h t o l:.U.;:                                              ~uL
                                                                                                        ..     a1.1 .. i! pp                                                            "


                                                                                                                                                      J     •

                   •'.i,,, ., ; · )
                            ' , 'l" _)'                 ~
                                                            1--                                                                                        I'
                                                                                                                                                       ~-~ ~
                                               ----c,,..J
                                                                                                                                                                                        4/ 7/17
               SIGNATURE OF RESPONDENT Sco t t O. Ma n :lu ·tor,                                                                     TITLE                                                  DATE

               Appeals must be filed within five (5) calendar days upon rec.eipt. Signed & dated ROAs must be returned. Step .3 responses ardinal.


               INMA ~E ACKNOWLEDGED RESPONSE
                                       '

L_   . ....   . . . . .-.--::::::.·
